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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )            CASE NO. 8:04CR206
       vs.                                      )
                                                )
JOHN GRIEGO,                                    )
                                                )
                                                )                      ORDER
                      Defendant.

       This matter comes on to consider the government’s motion for reduction of sentence

pursuant to Rule 35(b) and request for hearing. Filing No. 322. Having considered the matter,

       IT IS ORDERED that:

       1.     The government’s request for hearing, Filing No. 322, is granted.

       2.     A hearing on the government’s motion for reduction of sentence pursuant to Rule
              35(b) has been set before the undersigned United States district judge on July 5,
              2005 at 9:35 a.m. in Courtroom No. 2, Roman L. Hruska U.S. Courthouse, 111
              South 18th Plaza, Omaha, Nebraska.

       3.     Counsel for the defendant, if previously appointed pursuant to the Criminal
              Justice Act, is reappointed to represent the defendant for purposes of the Rule
              35(b) motion. If retained, counsel for the defendant remains as counsel for the
              defendant until the Rule 35(b) motion is resolved or until given leave to withdraw.

       4.     The Marshal is directed to return the defendant to the district for this

              hearing.



       Dated this 30th day of June, 2005.

                                                    BY THE COURT:

                                                    s/ Laurie Smith Camp
                                                    United States District Judge
